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                             UNITED STATE DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA


LINDA C. SEAWOOD                           )
          Plaintiff,                       )
                                           ) CAUSE NO.: 2:21-cv-376
   vs.                                     )
                                           )
NANCY J. MACKIN                            )
         Defendant.                        )



                                COMPLAINT FOR DAMAGES

         COMES NOW Plaintiff, Linda Seawood, by counsel, WRUCK PAUPORE PC, and for

her Complaint against the Defendant, Nancy Mackin, states as follows:

                           PARTIES, JURISDICTION, AND VENUE

         1. Plaintiff, Linda Seawood (“Plaintiff”), is an individual and is now, and at all times

mentioned in this Complaint, was a resident of St. Joseph, Michigan and is a Michigan citizen.

         2. Defendant, Nancy Mackin (“Defendant”), at all times relevant to this Complaint was

a resident of St. Joseph County, Indiana and is an Indiana citizen.

         3. Subject matter jurisdiction and venue is proper in this court pursuant to 28 U.S.C §

1332 as complete diversity of citizenship exists between the parties and the amount in

controversy exceeds $75,000 (seventy-five thousand dollars).

                                  COMMON ALLEGATIONS

         4. Plaintiff restates and incorporates by reference Paragraphs 1 through 3 as though fully

set forth here.




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        5. On or about December 6, 2019, Plaintiff was traveling in her vehicle north on Grape

Road at the intersection of Cleveland, St. Joseph County, Indiana, and was at a complete stop at

a red-light.

        6. At the same time, Defendant was also traveling north on Grape Road approaching the

intersection of Cleveland behind Plaintiff’s stopped vehicle.

        7. Without any warning, Defendant struck Plaintiff’s vehicle, causing significant injury

and property damage to Plaintiff and her vehicle.

        8. Defendant failed to operate her vehicle safely in accordance with his general duty of

care and by Indiana law.

        9. Further, the Defendant failed to operate her vehicle safely as was required by the road

conditions and by Indiana law at the time of the accident.

        10. Defendant was negligent in causing the aforedescribed incident and Plaintiff was

without fault.

        11. According to the investigating police officer, Defendant was cited for Following Too

Closely, which was determined to be the primary cause of the accident.

        12. Plaintiff has suffered pain, suffering, mental anguish, and loss of enjoyment of her

life as the result of the aforedescribed December 6, 2019 incident.

        13. Plaintiff has also incurred economic loss as the result of the aforedescribed

December 6, 2019 incident, including, without limitation, hospital, doctor, and other medical

expenses and lost work time.

        14. Plaintiff’s aforedescribed injuries, damages, and losses were and are a direct and

proximate result of Defendant’s negligence.




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                                   COUNT I- NEGLIGENCE

       15. The Plaintiff restates and incorporates by reference paragraphs 1 through 14 as

though fully set forth here.

       16. Defendant owed Plaintiff a common law duty of care while driving her vehicle on or

about December 6, 2019 and was further obligated to operate her vehicle suitably for the road

conditions on the day of the accident.

       17. Defendant breached her common law duty of care and applicable Indiana law

resulting in the December 6, 2019 incident and Plaintiff’s aforedescribed injuries.

       18. Defendant was negligent and/or negligent per se as a matter of law in causing the

December 6, 2019 incident.

       19. Defendant is liable to Plaintiff for her injuries described herein, as well as for any

and all other injuries or damages proximately caused by Defendant’s negligence.

       20. Plaintiff is entitled to judgment against Defendant in an amount reasonably and fully

compensating her for all such injuries and damages.



                                                RELIEF

       WHEREFORE, the Plaintiff, Linda Seawood, demands judgment and an award of

damages in an amount compensating Plaintiff fully for all injuries described herein and for all

other relief just and proper in the premises.




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                                          Respectfully submitted,


                                          WRUCK PAUPORE PC



                                          _______________________________
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                              CERTIFICATE OF SERVICE
I certify that on the December 1, 2021 service of a true and complete copy of the above and
foregoing pleading or papers was made upon each party or attorney of record herein by
electronic delivery.


BY:___ ____________________________




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